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   LATHAM & WATKINS LLP
 1   Daniel Scott Schecter (Bar No. 171472)
      daniel.schecter@lw.com
 2 10250 Constellation Avenue, Suite 1100
   Los Angeles, California 90067
 3 Telephone: +1.424.653.5500
   Attorneys for Petitioner
 4 MVL Film Finance LLC
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 6
 7
 8                       UNITED STATES DISTRICT COURT
 9                    NORTHERN DISTRICT OF CALIFORNIA
10
   IN RE: DMCA SECTION 512(h)                  Miscellaneous Action No.:
11 SUBPOENA TO GOOGLE LLC
                                               DECLARATION OF MATTHEW
12                                             SLATOFF IN SUPPORT OF
                                               ISSUANCE OF SUBPOENA
13                                             PURSUANT TO 17 U.S.C. § 512(h)
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19
20        I, Matthew Slatoff, the undersigned, declare that:
21        1.     I am the Vice President, Global Security & Content Protection at
22 Marvel Studios, LLC, which is an affiliate of (with the same parent as) MVL Film
23 Finance LLC (“MVL”). As part of my duties, I am responsible for monitoring and
24 addressing infringement of copyright rights owned by MVL and its affiliated
25 companies.
26        2.    I am authorized to act on MVL’s behalf. I submit this declaration in
27 support of MVL’s request for issuance to Google LLC (“Google”) of a subpoena,
28 pursuant to the Digital Millennium Copyright Act (“DMCA”), 17 U.S.C. § 512(h)
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 1 (the “DMCA Subpoena”), to identify an alleged infringer (or infringers) who posted
 2 content which infringes copyright rights held by MVL in Ant-Man and the Wasp:
 3 Quantumania (the “Infringing Content”) on systems operated by Google, without
 4 MVL’s authorization. I have personal knowledge of the facts contained herein and,
 5 if called upon to do so, I could and would testify competently thereto.
 6        3.      On January 21, 2023, Nilo Siqueira, Analyst, Digital Media Antipiracy
 7 at The Walt Disney Company (the parent of MVL), submitted on behalf of MVL a
 8 notification, via a webform provided by Google (at
 9 https://reportcontent.google.com/forms/dmca_drive?hl=en-
10 GB&utm_source=wmx&utm_medium=deprecation-pane&utm_content=legal-
11 removal-request), identifying the Infringing Content on Google’s systems and
12 providing the information required by 17 U.S.C. § 512(c)(3)(A). The information
13 provided to Google via webform was as follows:
14        • First Name: Nilo
15        • Surname: Siqueira
16        • Company Name: The Walt Disney Company
17        • Copyright holder that you represent: The Walt Disney Company
18        • Email address: Nilo.siqueira@disney.com
19        • Choose your country/region: United Kingdom
20        • Is the submission related to an unauthorised stream of an upcoming
21             live event? No
22        • Identify and describe the copyrighted work: Unreleased leaked
23             script of the new Disney movie Ant-man and the Wasp:
24             Quantumania
25        • Where can we see an authorised example of the work?:
26             https://www.imdb.com/title/tt10954600/
27
28
                                             -2-                             Case No.
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 1             • Location of infringing material:
 2                https://docs.google.com/document/d/1Y7adPnjTvgQFVEO6bgnbSDkD
 3                GVcfiONrfQJ9gzDMzPw/
 4             • I have a good-faith belief that use of the copyrighted materials
 5                described above as allegedly infringing is not authorised by the
 6                copyright owner, its agent or the law. [Confirmed via box check]
 7             • The information in this notification is accurate and I swear, under
 8                penalty of perjury, that I am the copyright owner or am authorised to
 9                act on behalf of the owner of an exclusive right that is allegedly
10                infringed. [Confirmed via box check]
11             • I understand that a copy of each legal notice may be sent to the Lumen
12                project (http://lumendatabase.org) for publication and annotation. I also
13                understand that Lumen redacts personal contact information from
14                notices before publication but, in many cases, will not redact my name.
15                [Confirmed via box check]
16             • Signed on the date of: 21 Jan 2023
17             • By: Nilo Siqueira
18        4.      Mr. Siqueira received a confirmation of receipt of this submission from
19 the address removals@google.com on January 23, 2023. Attached hereto as Exhibit
20 1 is a true and correct copy of the confirmation receipt received from Google.
21 Mr. Siqueira was authorized to act on behalf of MVL in submitting this notification.
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                  Exhibit 1
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